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                                       UNITED STATES DISTRICT COURT
                                                     District of Connecticut
 UNITED STATES OF AMERICA                                                JUDGMENT IN A CRIMINAL CASE

                   v.                                                  CASE NO.:      3:16cr229(AVC)
                                                                       USM NO:        21671-052
         YU LONG
                                                                        Vanessa Richards
                                                                       Assistant United States Attorney


                                                                        William F. Dow
                                                                       Defendant’s Attorney



THE DEFENDANT: pled guilty to counts One and Two of the Information.

Accordingly the defendant is adjudicated guilty of the following offense(s):

              Title & Section               Nature of Offense                  Offense Concluded                  Count(s)

                                       Conspiracy To Engage In
                                       The Theft Of Trade
    U.S.C. §§ 1831 (a)(2) and          Secrets Knowing That The
    (a)(5); 22 U.S.C. § 2778           Offense Would Benefit A                      11/07/14                         One
                                       Foreign Government,
                                       Foreign Instrumentality, Or
                                       Foreign Agent,
                                       Unlawful Export And
                                       Attempted Export Of
          22 U.S.C. § 2778                                                         11/07/14                         Two
                                       Defense Articles From
                                       The United States

The following sentence is imposed pursuant to the Sentencing Reform Act of 1984.

IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total of time served.

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a total term of N/A.




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CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments (as follows) or (as noted on the
restitution order).

 Special Assessment:             $ 200.00
 Fine:                           $ N/A
 Restitution:                    $ N/A

It is further ordered that the defendant will notify the United States Attorney for this district within 30 days of any change of name,
residence or mailing address until all fines, restitution, costs and special assessments imposed by this judgment, are paid.
The following counts have been dismissed:

JUDICIAL RECOMMENDATION(S) TO THE BUREAU OF PRISONS:

The defendant shall be permitted to voluntarily depart the United States.



 FORFEITURE:               Forfeiture of items as listed in Plea Agreement on Page 3 of the Plea Agreement. Document #63

Hardware/Device                                                                     Serial/Bar Code Number
USB 3.0 Padlock 3                           Apricorn                                A25-3PL256-XXXX
External Hard Drive                        Western Digital                          WXG1A91K4501
Thinkpad                                   LenovoT61                                L3 D3098 07/10




                                                                                             June 22, 2017
                                                                                             Date of Imposition of Sentence



                                                                                                        /s/   Alfred V. Covello

                                                                                             United States District Judge
                                                                                             Date: June 27, 2017




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                                                CONDITIONS OF SUPERVISED RELEASE
In addition to the Standard Conditions listed below, the following indicated () Mandatory Conditions are imposed:

                                                               MANDATORY CONDITIONS
(1) You must not commit another federal, state or local crime.
(2) You must not unlawfully possess a controlled substance.
(3) You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from imprisonment
        and at least two periodic drug tests thereafter, as determined by the court.
         ☐ The above drug testing condition is suspended, based on the court’s determination that you pose a low risk of future substance abuse. (check
         if applicable)

(4) ☐ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)

(5) ☐ You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed by the
        probation officer, the Bureau of Prisons, or any state sex offender registration agency in which you reside, work, are a student, or were
        convicted of a qualifying offense. (check if applicable)
(6) ☐ You must participate in an approved program for domestic violence. (check if applicable)


                                                                STANDARD CONDITIONS

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed because they
establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation officers to keep informed,
report to the court about, and bring about improvements in your conduct and condition.


(1)    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your release from
       imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time frame.
(2)    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and when you must
       report to the probation officer, and you must report to the probation officer as instructed.
(3)    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the court or the
       probation officer.
(4)    You must answer truthfully the questions asked by your probation officer.
(5)    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living arrangements (such
       as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying the probation officer in advance is
       not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or expected
       change.
(6)    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to take any
       items prohibited by the conditions of your supervision that he or she observes in plain view.
(7)    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from doing so. If you
       do not have full-time employment you must try to find full-time employment, unless the probation officer excuses you from doing so. If you plan to
       change where you work or anything about your work (such as your position or your job responsibilities), you must notify the probation officer at
       least 10 days before the change. If notifying the probation officer at least 10 days in advance is not possible due to unanticipated circumstances,
       you must notify the probation officer within 72 hours of becoming aware of a change or expected change.
(8)    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been convicted of a
       felony, you must not knowingly communicate or interact with that person without first getting the permission of the probation officer.
(9)    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
(10)   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was designed,
       or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
(11)   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without first getting
       the permission of the court.
(12)   You must follow the instructions of the probation officer related to the conditions of supervision.




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Upon a finding of a violation of supervised release, I understand that the court may (1) revoke supervision and impose a term of
imprisonment, (2) extend the term of supervision, and/or (3) modify the conditions of supervision.

These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.

       (Signed)
                  Defendant                                                                      Date



                  U.S. Probation Officer/Designated Witness                                      Date




CERTIFIED AS A TRUE COPY ON THIS DATE: ______________________

By: ___________________________
     Deputy Clerk




RETURN

I have executed this judgment as follows:

Defendant delivered on _______________ to ______________________________ a __________________________, with a certified
copy of this judgment.




                                                                                                       Brian Taylor
                                                                                               Acting United States Marshal

                                                                              By
                                                                                                        Deputy Marshal




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